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Ben Cox, OSB No. 080601
Email: ben@coxlawpdx.com
Ben Cox Law
3723 North Williams Avenue
Portland, Oregon 97227
Telephone: (503) 224-1787
Facsimile: (503) 906-6575

S. Kenji Kozuma, OSB No. 954806
Email: kenji@mczuma.com
McKelvey Kozuma Burke PC
3723 North Williams Avenue
Portland, Oregon 97227
Telephone: (503) 206-8122
Facsimile: (503) 477-9132


                                  UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION

CHRISTOPHER COX,
                                                   Case No.
                     Plaintiff,
                                                   COMPLAINT
       vs.                                           1. Negligence

HOME DEPOT U.S.A., INC., a foreign                 DEMAND FOR JURY TRIAL
business corporation,

                         Defendant.
           Plaintiff alleges:
                                            PARTIES
      1.         Plaintiff CHRISTOPHER COX (“Plaintiff”) was and is an individual residing in
Clark County, Washington.
      2.         Defendant HOME DEPOT U.S.A., INC. (“Defendant”) was and is a Delaware
corporation with its principal corporate headquarters in Georgia. Defendant is engaged in regular
and sustained business throughout the State of Oregon.

                                                                     MCKELVEY KOZUMA BURKE P.C.
  PAGE 1        COMPLAINT                                                  ATTORNEYS AT LAW
                                                                        3723 N WILLIAMS AVENUE
                                                                          PORTLAND, OR 97227
                                                                              503.206.8122
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                                  JURISDICTION AND VENUE

         3.      Venue is proper in this District as Plaintiff’s accident, injuries, and damages
occurred in the City of Portland, Multnomah County, Oregon.

         4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
1332(a)(1), as the matter in controversy exceeds $75,000.00, exclusive of interest and costs, and
is between a plaintiff who resides in Oregon and a defendant that resides in Delaware, a foreign
state.
         5.      This Court has personal jurisdiction over Defendant because Defendant transacts
business within the State of Oregon, has availed itself of the privilege of conducting business
activities within the State of Oregon, and engaged in business activities giving rise to this lawsuit
within the State of Oregon and this District.
         6.      Venue is proper in this District as Plaintiff’s accident, injuries, and damages
occurred in the City of Portland, Multnomah County, Oregon.
                                   FACTUAL BACKGROUND
         7.      At all material times, Defendant was a multinational home improvement retail
seller of home goods and improvement products, and owned and operated over two thousand
retail stores. Such products included, among other things, steel corrugated roofing (“Roofing”)
and protective gloves.
         8.      Defendant employed and/or engaged owners, officers, employees, agents,
managers, or others within the control or right of control of Defendant (“employees and agents”)
who were working in the course and scope of their official duty, employment, agency,
managerial capacity, and/or performing work over which Defendant had possessed control or the
right of control. All acts and omissions attributed to Defendant as alleged herein were performed
by and through said employees and agents.
         9.      Defendant was solely responsible for, among other things: design and
construction of its retail stores; staging, placement, and arrangement of its retail products;

                                                                          MCKELVEY KOZUMA BURKE P.C.
   PAGE 2       COMPLAINT                                                       ATTORNEYS AT LAW
                                                                             3723 N WILLIAMS AVENUE
                                                                               PORTLAND, OR 97227
                                                                                   503.206.8122
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location and content of signage and any customer warnings; means and methods of allowing

customer access to any and all retail products.
      10.      Defendant owned and operated a Home Depot store located at 10120 SE

Washington Street, Portland, Multnomah County, Oregon (“Store”).
      11.      On July 22, 2021, Plaintiff entered the Store as a business invitee with the
intention of purchasing, among other things, several sheets of Roofing.
      12.      In the course of removing the Roofing from the shelf in Defendant’s Store,
Plaintiff’s hand was grievously injured.
                                  FIRST CAUSE OF ACTION
      13.      Plaintiff re-alleges paragraphs 1-8 as though fully set forth herein.
      14.      Defendant was negligent in one or more of the following particulars:
            a. Failing to store and stage the Roofing flat, horizontal, or otherwise in a manner
               best designed to ensure patron safety;
            b. Failing to warn patrons of the inherent dangers in handling the Roofing;
            c. Failing to warn patrons to wear gloves or other safety equipment;
            d. Failing to warn patrons to seek assistance before handling the Roofing;
            e. Failing to provide patrons gloves or other safety equipment;
            f. Failing to train its employees to alert customers to the inherent dangers in
               handling the Roofing;
            g. Failing to train its employees to alert customers to the risk of injury created by
               attempting to lift and handle the Roofing without proper training and/or safety
               equipment; and
            h. Allowing patrons access to inherently dangerous material such as the Roofing
               without proper training and/or safety equipment.
      15.      As a direct and proximate result of Defendant’s negligence, Plaintiff suffered a
high grade tendon tear with ulnar side nerve damage. Plaintiff’s injuries required surgery and

                                                                        MCKELVEY KOZUMA BURKE P.C.
  PAGE 3      COMPLAINT                                                       ATTORNEYS AT LAW
                                                                           3723 N WILLIAMS AVENUE
                                                                             PORTLAND, OR 97227
                                                                                 503.206.8122
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rehabilitation, and will result in permanent residual problems, including numbness and weakness.

      16.      As a result of the injuries described herein, Plaintiff has incurred medical
expenses in an amount to be proven at trial, but currently estimated not to exceed $27,000.00.

      17.      As a further result of the injuries described herein, Plaintiff has incurred wage loss
in an amount to be proven at trial, but currently estimated not to exceed $40,000.00.
      18.      As a further result of the injuries described herein, Plaintiff has suffered non-
economic damages including, but not limited to, past and future pain and suffering, and
inconvenience and interference with normal and usual activities, all in an amount to be proven at
trial, but currently estimated not to exceed $550,000.00.
                                    JURY TRIAL DEMAND
       Plaintiff demands a jury trial on all claims and issues presented.
                                 PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for judgment in his favor:
       1. Against Defendant in the amount of damages detailed herein, together with an award
            of costs and disbursements; and
       2. For such further relief as this Court deems just and equitable.
       DATED this 8th day of September, 2022.
                                              BEN COX LAW


                                              By: /s/ Ben Cox
                                               Ben Cox, OSB No. 080601
                                               Email: ben@coxlawpdx.com
                                               Ben Cox Law
                                               3723 North Williams Avenue
                                               Portland, Oregon 97227
                                               Telephone: (503) 224-1787

                                                      and




                                                                        MCKELVEY KOZUMA BURKE P.C.
  PAGE 4      COMPLAINT                                                       ATTORNEYS AT LAW
                                                                           3723 N WILLIAMS AVENUE
                                                                             PORTLAND, OR 97227
                                                                                 503.206.8122
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                                   MCKELVEY KOZUMA BURKE P.C.


                                   By: /s/ S. Kenji Kozuma
                                      S. Kenji Kozuma, OSB No. 954806
                                      Email: kenji@mckelveykozuma.com
                                      McKelvey Kozuma Burke P.C.
                                      3723 N Williams Avenue
                                      Portland, Oregon 97227
                                      Telephone: (503) 206-8122

                                              Of Attorneys for Plaintiff




                                                              MCKELVEY KOZUMA BURKE P.C.
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                                                                 3723 N WILLIAMS AVENUE
                                                                   PORTLAND, OR 97227
                                                                       503.206.8122
